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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re                                                    )      Chapter 11
                                                         )
WOODLAWN COMMUNITY                                       )      Case No. 18-29862
DEVELOPMENT CORP., an Illinois                           )
not for profit corporation,                              )      Hon. Carol A. Doyle
                                                         )
                       Debtor.                           )

            DECLARATION OF DR LEON FINNEY JR. IN SUPPORT OF
         THE DEBTOR=S CHAPTER 11 PETITION AND FIRST DAY MOTIONS

        I, Dr. Leon Finney Jr., declare:

        I am over 18 years of age and, if called as a witness, could and would testify as to the matters

set forth below based upon my personal knowledge, except where otherwise indicated below:

                                           BACKGROUND

        1.      I am the President and CEO of the Woodlawn Community Development Corp. (the

ADebtor= or “WCDC@), an Illinois not for profit corporation I am intimately familiar with the

business operations and assets of the Debtor.

        2.      I hereby submit this declaration in support of the following pleadings filed by Debtor:

        (a)   Voluntary Petition and documents filed in support thereof.

        (b) Motion of the Debtor for Entry of an Order Pursuant to Sections 105(a), 363 and 345 of

                the Bankruptcy Code Authorizing the Debtor to Maintain and Use its Existing

                Payroll Bank Account at PNC Bank and Waive the Requirements of Section 345 of

                the Bankruptcy Code with respect to the Payroll Account (the ACash Management

                Motion@).

        (c)     Debtor=s Motion for Entry of Order Pursuant to Sections 105(a), 363(b), 363(c),


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               507(a), 541(b)(7), 541(d), 1107(a) and 1108 of the Bankruptcy Code and Fed. R.

               Bankr. P. 6003 and 6004 (I) Authorizing Debtor to (A) Pay Certain Prepetition

               Wages, Compensation and Employee Benefits, and (B) Continue Payment of Wages,

               Compensation, and Employee Benefit in the Ordinary Course of Business; and (II)

               Authorizing and Directing Banks and Other Financial Institutions to Receive,

               Process Honor and Pay Checks Issued and Electronic Payment Requests Relating to

               the Foregoing (the AWage Motion@).

        3.     I supervise the custodians of the books and records of the Debtor relating to financial

and commercial transactions and am familiar with the Debtor=s procedures for maintaining records

and files and recording transactions into the Debtor=s books and records. The books, records and

files of the Debtor are maintained in the normal course of business, with all of the entries made by

the Debtor=s employees at or about the time the events that were recorded therein occurred. Unless

otherwise indicated, all statements below are based on the contents of the Debtor=s books, records

and files.

        4.     In 1960, a group of religious and block club leaders brought together a coalition of

over 100 neighborhood associations, religious institutions and civic organizations to fight against the

deterioration of the Woodlawn community located on the south side of Chicago and adjacent to the

University of Chicago. The organization which was created was The Woodlawn Organization

(“TWO”) whose purpose was to revitalize this inner city neighbor by focusing on housing, health,

education, employment, economic development, physical and infrastructure development and the

provision of social services in the community. To further these goals, WCDC was created in 1972 to

serve as the umbrella for TWO’s real estate development and management activities. Initially,

WCDC undertook the aggressive redevelopment of a 30-acre tract of land between 60th and 65th


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Streets, Stony Island and the IC/Meta train tracks. This entire area was an individual sub-component

of the “TWO Model Cities Plan”. Neighborhood residents and community-based groups were

organized and brought to a common table for the purposes of visioning and creating a strategic

approach for the area with individuals who had the skills and the expertise to make their vision

become realities.

       Over the ensuing years WCDC has completed ten (10) development construction projects at

a total cost of $82.5 million dollars. WCDC is continuing to impact the community in a positive

way with a holistic approach to property management of over one thousand seven hundred private

rental apartments for low, moderate and middle income families, senior citizen’s, socially and

physically challenges in eleven properties. Currently, the Debtor serves as property manager for

over forty eight hundred public housing rental apartments for families and senior citizens in fourteen

properties.

       Moreover, WCDC has created opportunities for neighborhood associations, churches, local

agencies and community organization to engage in communication and dialogue and to become

stakeholders in the redevelopment of their areas. On several occasions WCDC has also integrated

local area developers and independent contractors into the planning process.

       WCDC was chosen in 1999 to receive the Chicago Association of Realtors Good Neighbor

Award. WCDC. was recognized for the property Kenwood Pointe, located at 65th and Kenwood.

Once a year, the Chicago Association of Realtors gives the Good Neighbor Award to property

managers/developers who, through rehabilitation or new construction of commercial, retail or

residential properties, manage to impact the surrounding neighborhood in a positive way. WCDC

has demonstrated its leadership in bringing market rate housing into the community with the

development of its single-family town homes “The Homes at Blackstone” at 63rd Street &


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Blackstone and its collaboration with All Chicago and The FUND Group in the development of

“Columbia Pointe” at 63rd Street between Kenwood and Kimbark Avenues.

       Unfortunately, in the last several years, the Debtor has been plagued with numerous lawsuits

which have consumed time and substantial financial resources. Although WCDC has either settled

or is currently litigating these claims, the Debtor has been able to manage the litigation without

resort to bankruptcy protection. However, the claim which precipitated the Debtor’s filing for

Chapter 11 reorganization is the recent claim and filing of federal tax liens by the Internal Revenue

Service totally approximately 1.8 million dollars for unpaid payroll tax liability for the 2nd and 4th

quarters of 2017 and the 1st quarter of 2018. Management was completely surprised by these unpaid

tax liabilities because provision has always been made for payment of these liabilities at the time

employees receive their payroll checks. Accordingly, as part of the Chapter 11 process, the Debtor

has engaged and will seek to employ a forensic accountant to determine the disappearance of funds

which were earmarked for the payment of these tax liabilities for the quarters in question. Because

of the imminent threat of an IRS tax levy which would severely impact on its management activities,

Debtor filed this case seeking bankruptcy protection.

       5.      The Debtor operates it business in an office space which it rents and is located at

6040 S. Harper Ave., Chicago, Illinois 60037. WCDC currently employs approximately 177

persons. Currently, the Debtor=s yearly gross revenues are about 2.5 million dollars with total assets

of around 65.6 million dollars and liabilities of approximately, 50 million dollars.

       6.      The Debtor has four (4) secured creditors which hold various mortgages and fixture

lien filings with respect to the various real estate properties owned by WCDC. To the best of my

knowledge, no creditor has a security interest in any of the accounts receivable or accounts of

WCDC.


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       7.      The Company is continuing in possession of its property, and is operating and

managing its business as debtor in possession pursuant to '' 1107 and 1108 of the Bankruptcy Code.

       8.      No request for appointment of a chapter 11 trustee or examiner has been made and, as

of the date hereof, no official committee has been appointed.

                            SUPPORT FOR FIRST DAY MOTIONS

                                                Petition

       9.      I have reviewed the information in the Debtor=s voluntary petition and documents

filed in support thereof, and they are true and accurate to the best of my knowledge.

                             Use of Existing Payroll Account Motion

       10.     As of the Petition Date, the Debtor maintains three checking accounts at PNC Bank.

As of the Petition date, the Debtor will sweep the monies from it Operating and General Account

into an newly established Debtor in Possession Account. However, the Debtor seeks authority to

continue to use its existing Payroll Account.

       11.     The Debtor utilizes its Payroll Account for the sole purpose of funding its bi-monthly

payroll obligations. A few days prior to the distribution of checks to employees, WCDC deposits a

check from its operating account into the Payroll Account; the deposit is sufficient to cover all

wages and required federal and state tax deposits as determined by its payroll service, ADP. In turn,

ADP automatically debits the Payroll account prior to issuing the payroll checks and making all

necessary federal and state tax deposits. I believe that the Payroll Account is in a financially stable

banking institution with the Federal Deposit Insurance Corporation or other appropriate government-

guaranteed deposit protection insurance.

       12.     Requiring the Debtor to close its existing Payroll bank account would not be in the


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